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 1                                                                                Hon. Richard A. Jones
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 5                             UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                         SEATTLE
 7
 8   UNITED STATES OF AMERICA,                                  No. CR15-269RAJ
 9                            Plaintiff,
10                   v.                                    ORDER OF DISMISSAL WITHOUT
11                                                         PREJUDICE TO RE-FILING
     RAFAEL VALADEZ-VAZQUEZ,
12
                              Defendant.
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14
15
16          This matter comes before the Court upon the unopposed notice of the United
17 States for leave to dismiss all pending charges in this matter as to Defendant Rafael
18 Valadez-Vazquez.
19          IT IS HEREBY ORDERED:
20          All pending counts in the above-captioned case as to Defendant Rafael Valadez-
21 Vazquez are dismissed, without prejudice to re-filing.
22          DATED this 9th day of March, 2017.
23
24
25                                                              A
26                                                              The Honorable Richard A. Jones
                                                                United States District Judge
27
28   Order of Dismissal                                                            UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE
     United States v. Rafael Valadez-Vazquez, CR15-269RAJ - 1                                   5220
                                                                                    SEATTLE, WASHINGTON 98101
                                                                                           (206) 553-7970
